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-0    245D     (Rev. 12103) Judgment in s Criminal Case for Revocations
               Sheet l




                                             SOUTHERN               District of     ILLINOIS
UNITED STATES OF AMERICA                                                   JUDGMENT IN A CRIMINAL CASE
V.                                                                         (For Revocation of Probation or Supervised Release)


KENYA A. GANER                                                             Case Number:                     4:98CR40002-005-JPG
                                                                           USM Number:                      04106-025
                                                                           Judy Kuenneke, FPD
                                                                           Defendant's Atiorney
THE DEFENDANT:
X admitted guilt to violation of condition(s) as alleged in motion & petition               of the term of supervision.
D was found in violation of condition(s)
-                                                                                       after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                                  Violation Ended
Statutory                    Defendant tested positive for cocaine                                                04/20/2005
9                            Defendant was arrested while in the company of a convicted felon                     02/12/2005
8                            Defendant associated witb persons dealing drugs                                      02/12/2005
2                            The defendant did not submit his monthly reports                                     01/2006
5                            The defendant did not obtain suitable employment                                     05/06/2005
Special                      The defendant failed to make monthly payments toward his iine                        0812004 to present
Statutory                    The defendant was ticketed by 11. State Poli                                         04/04/2005
       The defendant is sentenced as provided in pages 2 through              of this judgment,e.                sentence is imposed puraoant to
the Sentencing Reform Act of 1984.
0 The defendant has not violated condition(s)
-                                                                                   and is discharged as to such violation(s) condition.


                                                         8
          It is ordered that the defendant must noti the United States attorney for this district within 30 days of any
change of name, residence, or mailing address un all fmes, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restituOon, the defendant must nohfy the court and Umted States attorney of matenal changes m
economic circumstances.

Defendant's Sae. Sec. No.:     ***-**-I332                                 Mav 19.2005
                                                                           Date of Imposition of Judgment
Defendant's Date of Birth:     **-**-I978


Defendant's Residence Address:



State: IL                                                                  J. Phil Gilbert. District Judge
                                                                           Name and Title of Judge
                                                                                                                           I


Defendant's Mailing Address:
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A 0 245D      (Rev. 12103 Judgment in a Criminal Case for Revocations
              Sheet 2- lrnprisomnt
                                                                                                     Judgment - Page   L
DEFENDANT:                     KENYA A. GANER
CASE NUMBER:                   4:98CR40002-005-JPG


                                                              IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of :   11 months




    0 The court makes the following recommendations to the Bureau of Prisons:
    -




    - The defendant is remanded to the custody of the United States Marshal.
    0 The defendant shall surrender to the United States Marshal for this district:
    -
      -
      0 at                            -0 a m         p.m.   on
           0 as notified by the United States Marshal.
           -
    0 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
    -
      0 before 2 p.m on
      -
           0 as notified by the United States Marshal.
           -
        0 as notified by the Probation or Pretrial Services Office.
        -
                                                                        RETURN
I have executed this judgment as follows:




           Defendant delivered on                                                        to

a                                                     with a certified copy of this judgment.




                                                                                                   UNITED STATES MARSHAL


                                                                           BY
                                                                                                DEPUTY UNIll3D STATES MARSHAL
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A 0 245D    (Rev. 12/03) Judgment in a Criminal Case for Revocations
            Sheet 3 - ~up&isedRelease
6
DEFENDANT:                 KENYA A. GANER
CASE NUMBER:               4:98CR40002-005-JPG
                                                       SUPERVISED RELEASE
Upon release fiom imprisonment, the defendant shall be on supenised release for a term of:            12 months




         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
substance. The defendant shall submit to one drug test withm 15 days of release from unpnsonment and at least two penodlc drug
tests thereafter as deternuned by the court.
-     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
-     The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

-     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

-
0     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
      or is a student, as directed by the probation officer. (Check, if applicable.)
-     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                    STANDARD CONDITIONS OF SUPERVISION
 1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
 2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
       of each month;
 3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4)    the defendant shall support his or her dependents and meet other family responsibilities;
 5)    the defendant shall work regularly at a lawful occupation, unless excused by the probationofficer for schooling, training, or other
       acceptable reasons;
 6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
    controlled substance or any paraphemaha related to any controlled substances, except as prescnbed by a physician;
 8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       the defendant shall not associate wi@ any
 9)
       of a felony, unless granted permission to      %rsons engaged in criminal activityand shall not associate with any person convicted
                                                        so by the probahon officer;
10)    the defendant shall ermit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
       of any contraband ogserved m plain view of the probation officer;
11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
       officer;
12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
       permission of the court; and
13)    as bected by the probanon officer, the defendant shall notif third partles of risks that may be occasioned by the defendant's
       criminal record o r & e ~ n a hs!ory
                                     l      or characteristics and sha6 penmt the probation officer to make wch nohficationi and to
       confirm the defen nt's compl~ancewith such nonficanon requirement.
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A 0 245D   (Rev. 12/03) Judgment in a Criminal Case for Revocations
           Sheet 3C - Supervised Release
                                                                                           Judgment-Page   4
DEFENDANT:                 KENYA A.GANER
CASE NUMBER:               4:98CR40002-005-JPG

                                     SPECIAL CONDITIONS OF SUPERVISION
 The defendant shall provide the probation officer and the Financial l.iti ation Unit of $e United States Attomcy's Office with
                                                                         %
access to any requested financral mfomt~on..The defendant IS adv~sedt at the probatron officemay sharc fmncral ~nformation
wtth the Financial Litigation Unit.
  The defendant shall articipate as directed and approved by the probation officerin treatment for narcotic addictiop, drug
                       f
de ndence, or alcoho dependence, whch includes urinalysis or other dru detechon measures and which may reqnue residence
ancor partic* ation in a residential treatment facility. Any participation d l require complete abstinence fiom all alcoholic
beverages. d e defendant shall pa y for the costs associated with substance abuse counseling andlor testing based on a co-pay
sliding fee scale approved by the &ted States Probation Office. Co-pay shall never exceed the total costs of counseling.
 The defendant shall continue to make monthly payments toward his fme.
